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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,
                   Plaintiff,                CRIMINAL NO. 11-20129

            vs.                              HON. ROBERT H. CLELAND
D-35 WAYNE RUSSELL WERTH,
                        Defendant.
                                       /

             ORDER FOR PSYCHIATRIC OR PSYCHOLOGICAL
                   EXAMINATION OF DEFENDANT
      This matter coming before the Court on the Court’s own motion, joined in by

the Government, the Court finds for the reasons stated on the record April 16, 2013,

that there is reasonable cause to believe that defendant WAYNE RUSSELL WERTH

may presently be suffering from a mental disease or defect rendering him mentally

incompetent to stand trial, and mentally incompetent to conduct trial proceedings by

himself, pro se . Accordingly, pursuant to the Insanity Defense Reform Act of 1984,

18 U.S.C. §§4241-4247,

IT IS HEREBY ORDERED

      That a psychiatrist or psychologist employed by the Untied States be appointed,
      authorized, and directed to examine the mental condition of defendant WAYNE
      RUSSELL WERTH, see id. §4241(a),(b), 4247(b);
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      That defendant submit to an evaluation within the Bureau of Prisons for such
      psychiatric or psychological examination;

      That the examining psychiatrist or psychologist prepare, as soon as practical,
      a written report that includes (1) the defendant’s history and present symptoms;
      (2) a description of the psychiatric, psychological, and medical tests that were
      employed and their results; (3) the examiner’s findings; and (4) the examiner’s
      opinions as to diagnosis, prognosis, and whether the defendant is suffering from
      a mental disease or defect rendering him mentally incompetent to the extent that
      he is unable to understand the nature and consequences of the proceedings
      against him, to assist properly in his defense, and to conduct trial proceedings
      by himself, pro se, see 18 U.S.C. §4241(b), 4247(c);

      That the examiner promptly file the written report with this Court and provide
      copies of the report to defense counsel and the attorney for the government, see
      id. §4247(c);

      and

      that the period beginning with the court’s order for a competency evaluation on
      April 16, 2013 and ending with the conclusion of the competency hearing, see
      id. §4241(c), 4247(d), which will take place after the Court and parties have
      received the examiner’s written report, be deemed excludable delay under the
      Speedy Trail Act, pursuant to 18 U.S.C. §3161(h)(1)(F) and (h)(1)(A), and that
      the period beginning the day after the conclusion of the competency hearing
      and ending with the Court’s ruling on the defendant’s mental competency or
      with the lapse of 30 days, whichever occurs first, be deemed excludable delay
      pursuant to 18 U.S.C. §3161(h)(1)(H).

IT IS SO ORDERED.

                                        S/Robert H. Cleland
                                       ROBERT H. CLELAND
                                       UNITED STATES DISTRICT JUDGE



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Dated: April 23, 2013


I hereby certify that a copy of the foregoing document was mailed to counsel of record
and/or pro se parties on this date, April 23, 2013, by electronic and/or ordinary mail.


                                         S/Lisa Wagner
                                        Case Manager and Deputy Clerk
                                        (313) 234-5522




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